                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                     )          No. 3:06cr0096
                                              )
                              Plaintiff       )
                                              )
               v.                             )                ORDER
                                              )
CLOUD, et al.,                                )
                                              )
                              Defendant       )

       The Court sua sponte hereby amends the peremptory trial setting in the above-captioned

case. At present, by oral order of this Court (March 23, 2007) , calendar call, jury selection and

trial were peremptorily set to begin on October 9, 2007. The Court resets the schedule as

follows;

       1.      Calendar call is now set for Monday, October 1, 2007, at 9:00 am.

       2.      At calendar call, the Court will notify defendants and counsel whether trial will

               commence on/about October 9 or on/about October 15.

       3.      If trial is to commence on/about October 9, then jury selection will either be at

               Calendar Call on October 1 or immediately before trial begins on/about October 9,

               depending on the availability of a jury pool.

       4.      If trial is to commence on/about October 15, then jury selection will occur

               immediately before trial begins on/about October 15.

       For purposes of judicial and administrative economy and based on a heavy docket with

other peremptory trials settings, numerous witnesses under subpoena, and numerous prospective

jurors under summons, the ends of justice support the modest re-scheduling and continuance set

forth above.



       Case 3:06-cr-00096-FDW             Document 98      Filed 09/10/07      Page 1 of 2
IT IS SO ORDERED.

                               Signed: September 7, 2007




Case 3:06-cr-00096-FDW   Document 98    Filed 09/10/07     Page 2 of 2
